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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 UNITED STATES OF AMERICA,                                    :
                                              Plaintiff,      :
                                                              :     20 Cr. 522 (LGS)
                            -against-                         :
                                                              :          ORDER
 JOSE SERRANO,                                                :
                                              Defendant, :
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LORNA G. SCHOFIELD, District Judge:

        This case has been assigned to me for all purposes. It is hereby ORDERED that counsel

for all parties shall file by Monday, October 19, 2020 a joint letter via CM/ECF proposing a

schedule for discovery, the filing of motions, and three proposed dates for a status conference. The

parties also should state whether the parties seek to have the Court exclude time under the Speedy

Trial Act between the filing of the order and the pre-trial conference, and the basis for the exclusion.



Dated: October 15, 2020
       New York, New York
